                          Case 14-50333-gs                 Doc 158          Entered 08/05/14 16:12:20     Page 1 of 2



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               4
                Entered on Docket
            ___________________________________________________________________
               5August 05, 2014
                     6   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     7   Law Offices of Alan R. Smith
                         505 Ridge Street                                                         ELECTRONICALLY LODGED
                     8   Reno, Nevada 89501                                                            August 1, 2014
                         Telephone (775) 786-4579
                     9   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                 10      Attorney for Debtors ANTHONY
                         THOMAS, WENDI THOMAS
                 11      and AT EMERALD, LLC
                 12
                 13
                 14                                       UNITED STATES BANKRUPTCY COURT
                 15                                                      DISTRICT OF NEVADA
                 16                                                                    —ooOoo—
                 17      In Re:                                                             Case No. BK-N-14-50333-BTB
                                                                                            Case No. BK-N-14-50331-BTB
                 18      ANTHONY THOMAS and
                         WENDI THOMAS,                                                      Chapter 11 Cases
                 19
                                                                                            [Jointly Administered]
                 20      AT EMERALD, LLC,
                                                                                            ORDER APPROVING MOTION
                 21                                                                         FOR EXTENSION OF DEBTORS’
                                                                                            EXCLUSIVE TIME PERIODS TO
                 22                                                                         FILE AND OBTAIN
                                              Debtors.                                      CONFIRMATION OF THEIR
                 23                                                                         PLANS OF REORGANIZATION
                 24                                                                         Hearing Date: July 30, 2014
                                                                                            Hearing Time: 10:00 a.m.
                 25      ______________________________/
                 26                Debtors, ANTHONY THOMAS, WENDI THOMAS and AT EMERALD, LLC (the
                 27      “Debtors”), by and through their counsel, HOLLY E. ESTES, ESQ., of the Law Offices of
                 28      Alan R. Smith, filed their Motion For Extension Of Debtors’ Exclusive Time Periods To File
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\Thomas\Plan & DS\Ord Mot Extd Excl Period 073114-rmb.wpd
                          Case 14-50333-gs                 Doc 158          Entered 08/05/14 16:12:20   Page 2 of 2



                     1   And Obtain Confirmation Of Their Plans Of Reorganization (the “Motion”) on June 2, 2014
                     2   [DE 72]. The Court having considered the pleadings and papers on file and good cause
                     3   appearing,
                     4             IT IS HEREBY ORDERED that the Debtors’ Motion is granted and the120-day
                     5   exclusive time period for Debtors to file their plans of reorganization is extended from June
                     6   2, 2014, to and including August 31, 2014, and further that a 90-day extension is also granted
                     7   for the corresponding exclusive period for obtaining confirmation of Debtors’ plans of
                     8   reorganization.
                     9             IT IS SO ORDERED
                 10             In accordance with Local Rule 9021, counsel submitting this document certifies that
                         the order accurately reflects the court’s ruling and that (check one):
                 11
                 12                O          No party appeared at the hearing or filed an objection to the motion.
                 13
                         RESPECTFULLY SUBMITTED BY:
                 14
                         LAW OFFICES OF ALAN R. SMITH
                 15
                         By:     /s/ Holly E. Estes
                 16        HOLLY E. ESTES, ESQ.
                           Attorney for Debtor
                 17
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  Law Offices of
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Reno, Nevada 89501
 (775) 786-4579          H:\Thomas\Plan & DS\Ord Mot Extd Excl Period 073114-rmb.wpd   -2-
